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                            United States District Court
                             District of Massachusetts



United States of America

v.
                                          Criminal No.:     07-cr-10283-RGS

Timothy Silvia


            MOTION TO BE APPOINTED AS COUNSEL UNDER
     GENERAL ORDER 20-20 FOR DEFENDANT SEEKING EARLY RELEASE
                    UNDER 18 U.S.C. § 3582(c)(1)(A)


       Attorney Jean LaRocque respectfully asks to be appointed as counsel for the

above-named defendant, for the purpose of reviewing the case to determine whether

he is eligible for early release under 18 U.S.C. § 3582(c)(1)(A), and if so to file a

motion. In support of this motion, counsel states as follows:

       1. Mr. Silvia wrote the Federal Defender’s Office requesting assistance with

          a motion for compassionate release, who in turn contacted me regarding

          the matter.

       2. The defendant has previously been found to be indigent.

       3. Mr. Silvia was previously represented by CJA Attorney Lenore Glaser on a

          post-conviction motion to vacate under 28 U.S.C. § 2255 pursuant to

          Johnson v. United States (see ECF No. 159). Attorney Glaser is retiring

          and not able to take the case for compassionate release. As such, Mr.



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   Silvia is not currently represented by counsel.

4. Undersigned counsel is currently a member in good standing of the bar of

   the U.S. District Court for the District of Massachusetts. Although

   undersigned counsel is not a member of the CJA panel for this Court, she

   has worked on numerous habeas petitions in the past, and is a member of

   the CJA panel for the Court of Appeals for the First Circuit.

   Additionally, her law partner, Mark Shea, is a member of the CJA panel

   for this Court and undersigned has worked on many of his cases.

   Therefore, undersigned qualifies for appointment under the provision of

   the CJA Plan that allows appointment of an attorney who is not a member

   of the panel in “exceptional circumstances.” Undersigned counsel

   submits that the large volume of cases requesting compassionate release,

   coupled with counsel’s specialized experience in habeas litigation,

   warrants application of this provision.

5. In exceptional circumstances, a judicial officer shall have the discretion to

   appoint an attorney not on the CJA Panel, or a CJA Panel member other

   than the duty attorney, in order to serve the interests of justice, judicial

   economy, continuity in representation, or if there is some other compelling

   circumstance warranting such appointment. CJA Plan (Aug. 1, 2019,

   Section V.B. at 10).




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                                   CONCLUSION

      Based on the foregoing, undersigned counsel respectfully requests that the

Court appoint her as counsel in accordance with 18 U.S.C. § 3006A and this Court’s

General Order 20-20.


Respectfully submitted,


/s/ JEAN C. LaROCQUE                                 Dated: November 22, 2021
Jean C. LaRocque
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                                Certificate of Service

I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) will be sent to those indicated as non-registered participants on
November 22, 2021.


/s/ Jean C. LaRocque
JEAN C. LaROCQUE




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